            Case 3:22-cv-03870-JSC Document 49 Filed 08/04/22 Page 1 of 10


 Michael W. Shore (pro hac vice)                         Matthew S. Warren (State Bar No. 230565)
 THE SHORE FIRM                                          Jennifer A. Kash (Sate Bar No. 203679)
 901 Main Street, Suite 3300                             Erika H. Warren (State Bar No. 295570)
 Dallas, Texas, 75202                                    Francesca M. S. Germinario (State Bar No. 326208)
 Telephone: 214-593-9110                                 Sachli Balazadeh-Nayeri (State Bar No. 341885)
 Fax: 214-593-9111                                       22-3870@cases.warrenlex.com
 mshore@shorefirm.com                                    WARREN LEX LLP
                                                         2261 Market Street, No. 606
 M. Elizabeth Day (State Bar No. 177125)                 San Francisco, California, 94114
 Marc Belloli (State Bar No. 244290)                     +1 (415) 895-2940
 David Alberti (State Bar No. 220625)                    +1 (415) 895-2964 facsimile
 KRAMER DAY ALBERTI LIM
    TONKOVICH & BELLOLI LLP                              Attorneys for Defendant Google LLC
 577 Airport Blvd., Suite 250
 Burlingame, California, 94010
 Tel: 650 825-4300
 Fax: 650 460-8443
 eday@kramerday.com
 mbelloli@kramerday.com
 dalberti@kramerday.com

 Attorneys for Plaintiff Purdue Research Foundation


                                     UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
                                         SAN FRANCISCO DIVISION

 PURDUE RESEARCH FOUNDATION,                )                 Case No. 3:22-cv-3870-JSC
                                            )
       Plaintiff,                           )                 JOINT INITIAL CASE
                                            )                 MANAGEMENT STATEMENT
 v.                                         )
                                            )                 Date: August 11, 2022
 GOOGLE LLC,                                )                 Time: 1:30 p.m.
                                            )                 Location: Zoom webinar
       Defendant.                           )                 Judge: Hon. Jacqueline Scott Corley
 ___________________________________________)


         Under Federal Rule of Civil Procedure 26(f), Civil Local Rule 16-9, Patent Local Rule 2-1(b), the
 Standing Order for All Judges of the Northern District of California for Contents of Joint Case
 Management Statement, and this Court’s Order Rescheduling Initial Case Management Conference of
 July 18, 2022, plaintiff Purdue Research Foundation (“PRF”) and defendant Google LLC (“Google”)
 submit this Joint Initial Case Management Conference Statement.


                                                                                     Case No. 3:22-cv-3870-JSC
____________________________________________________________________________________________________________________
                                                              JOINT INITIAL CASE MANAGEMENT STATEMENT
                Case 3:22-cv-03870-JSC Document 49 Filed 08/04/22 Page 2 of 10


           The parties met and conferred on July 21, 2022, under Fed. R. Civ. P. 26(f).
 I.        Jurisdiction and Service

           This action arises under 35 U.S.C. § 271. The Court has subject matter jurisdiction. No issues
 exist regarding personal jurisdiction, and no party remains to be served.
 II.       Facts

           A.      Brief Chronology
           On February 1, 2022, PRF brought this action in the Western District of Texas, claiming
 infringement by Google of U.S. Patent No. 10,379,925 (“’925 Patent”). On April 28, 2022, PRF filed an
 amended complaint, Docket No. 16. On May 12, 2022, Google answered the amended complaint, Docket
 No. 17.
           On June 9, 2022, Google filed an Opposed Motion Under 28 U.S.C. § 1404(a) to Transfer Venue to

 The Northern District of California. Docket No. 20. On June 16, 2022, PRF and Google jointly moved to
 transfer this action to this District. Docket No. 23. The Western District of Texas granted the joint
 motion. Docket No. 24.

           B.      Principal Factual Issues in Dispute
           PRF and Google are aware of the following principal factual issues in dispute:
           A.      Whether the asserted claim is valid and enforceable;
           B.      Whether Google has infringed the asserted claim of the patent-in suit;
           C.      The appropriate damages for any infringement;

           D.      Whether any infringement is willful; and
           E.      Whether any other forms of relief are due to any party.
 III.      Principal Legal Issues in Dispute

           PRF and Google are aware of the following principal legal issues in dispute:
           A.      The proper construction of any disputed patent claim terms;
           B.      Whether this case is exceptional under 35 U.S.C. § 285;
           C.      Whether any party is entitled to attorneys’ fees and costs pursuant to 35 U.S.C. § 285; and
           D.      Whether any other forms of relief are due to any party.




                                                    –1–                              Case No. 3:22-cv-3870-JSC
____________________________________________________________________________________________________________________
                                                              JOINT INITIAL CASE MANAGEMENT STATEMENT
              Case 3:22-cv-03870-JSC Document 49 Filed 08/04/22 Page 3 of 10


 IV.     Motions

         To the extent that it remains pending, Google’s Opposed Motion Under 28 U.S.C. § 1404(a) to
 Transfer Venue to The Northern District of California (Docket No. 20), is moot in light of the joint motion
 to transfer to this District (Docket No. 23), and the Western District of Texas’ granting of that joint
 motion. Docket No. 24. There are no other pending motions before the Court. PRF and Google cannot
 predict their future motions with certainty, but anticipate that they will seek entry of a protective order
 governing confidentiality in this action, and will likely move for summary judgment and may file other
 dispositive and non-dispositive motions as the case progresses.
 V.      Amendment of Pleadings

         PRF and Google continue to investigate their claims and will amend the pleadings as appropriate.
 They propose the Court allow amendment of pleadings until two months before the completion of fact

 discovery, with any later amendment on good cause shown.
 VI.     Evidence Preservation

         PRF and Google have reviewed the Guidelines Relating to the Discovery of Electronically Stored
 Information, and have met and conferred under Fed. R. Civ. P. 26(f) regarding reasonable and
 proportionate steps taken to preserve evidence relevant to the issues reasonably evident in this action.
 VII.    Disclosures

         During the parties’ Rule 26(f) conference on July 21, 2022, PRF requested to extend this deadline
 until August 19, 2022, for the reasons set forth in its declaration (Docket No. 46). Google did not oppose

 this request, and PRF and Google stipulated and agreed, subject to the approval of the Court, to extend the
 deadline for initial disclosures under Fed. R. Civ. P. 26(a)(1) from August 4, 2022 to August 19, 2022.
 Docket No. 45. The Court granted the extension on July 28, 2022 (Docket No. 47).
 VIII. Discovery

         No party has taken discovery to date. PRF and Google anticipate that the scope of discovery will
 address the disputed legal and factual issues set forth above. Subject to the Court’s approval, PRF and
 Google propose the following limitations on fact discovery:
         A.      Interrogatories:
                 PRF’s Position: 40 per side, including discrete sub-parts.


                                                    –2–                              Case No. 3:22-cv-3870-JSC
____________________________________________________________________________________________________________________
                                                              JOINT INITIAL CASE MANAGEMENT STATEMENT
              Case 3:22-cv-03870-JSC Document 49 Filed 08/04/22 Page 4 of 10


                  Google’s Position: Google submits that the default number of 25 interrogatories per side
         provided for by the Federal Rules of Civil Procedure are sufficient for this case.
         B.       Requests for Admission: 40 per side, except regarding authenticity
         C.       Requests for Production: unlimited
         D.       Fact Depositions: 70 hours of deposition time per side, including examination and
 cross-examination, with a presumptive limit of 7 hours of deposition time for any deponent under Rule
 30(b)(1) or Rule 45. If any deposition requires an interpreter, the time would be doubled and the hours
 counted against the limit would be halved.
         E.       Expert Depositions: 7 hours of examination for each expert report. For example, if an
 expert prepares reports on validity and infringement, they will sit for two days of deposition, each
 including 7 hours of examination.

         F.       Electronic Discovery: The parties have reviewed the Guidelines Relating to the Discovery
 of Electronically Stored Information (“ESI Guidelines”), and further confirm that they have met and
 conferred regarding reasonable and proportionate steps taken to preserve evidence relevant to the issues
 reasonably evident in this action.
 IX.     Class Action
         This is not a class action.
 X.      Related Cases

         There are no related cases.

 XI.     Relief

         PRF asks the Court to:
         A.       Adjudge, find, and declare that the ’925 Patent is valid and enforceable;
         B.       Adjudge, find, and declare that Defendant has infringed at least one claim of the ’925
 Patent under 35 U.S.C. § 271 either directly, indirectly, by inducing others to infringe, or under the
 doctrine of equivalents;
         C.       Award the past and future damages arising out of Defendant’s infringement of the ’925
 Patent to PRF in an amount no less than a reasonable royalty, together with prejudgment and
 post-judgment interest, in an amount according to proof;


                                                    –3–                              Case No. 3:22-cv-3870-JSC
____________________________________________________________________________________________________________________
                                                              JOINT INITIAL CASE MANAGEMENT STATEMENT
                Case 3:22-cv-03870-JSC Document 49 Filed 08/04/22 Page 5 of 10


           D.      Adjudge, find, and declare that Defendant’s infringement is willful and awarding enhanced
 damages and fees in accordance with 35 U.S.C. § 284;
           E.      Award attorney’s fees, costs, or other damages pursuant to 35 U.S.C. §§ 284 or 285 or as
 otherwise permitted by law;
           F.      Grant PRF such other further relief as is just and proper, or as the Court deems appropriate
 including injunctive relief; and
           G.      If no injunction is issued, enter an order compelling Google to pay reasonable royalties on
 future sales of products, processes or methods found to infringe.
           Google asks the Court to:
           A.      Enter judgment that Google does not infringe any claims of the ’925 patent literally or
 under the doctrine of equivalents;

           B.      Enter judgment that the ’925 patent is invalid and/or unenforceable;
           C.      Declare that this case is exceptional under 35 U.S.C. § 285;
           D.      Award Google its costs, disbursements, attorneys’ fees, and such further and additional
 relief as is deemed appropriate by this Court; and
           E.      Google submits that PRF’s request for injunctive relief, or in the alternative for a running
 royalty, are improperly included in this Case Management Statement. PRF’s complaint in this matter does
 not seek either form of relief, and this statement is not the proper vehicle in which to add new claims for
 relief.

 XII.      Settlement and ADR

           PRF and Google have elected to participate in private mediation, and agree that these discussions
 are most likely to succeed following fact discovery and claim construction.
 XIII. Consent to Magistrate Judge for All Purposes

           All parties did not consent to a magistrate judge conducting all further proceedings.
 XIV.      Other References

           This action is not suitable for reference to binding arbitration, a special master, or Judicial Panel on
 Multidistrict Litigation.




                                                     –4–                             Case No. 3:22-cv-3870-JSC
____________________________________________________________________________________________________________________
                                                              JOINT INITIAL CASE MANAGEMENT STATEMENT
            Case 3:22-cv-03870-JSC Document 49 Filed 08/04/22 Page 6 of 10


 XV.     Narrowing of Issues

         PRF and Google are currently unable to narrow any issues by agreement or otherwise, but may be
 able to do so after fact discovery and claim construction.
 XVI. Expedited Schedule

         The procedure in General Order No. 64 Attachment A is not appropriate in this action.
 XVII. Scheduling

         PRF and Google propose the following schedule through claim construction of this action. This
 schedule follows the order of events set forth in the Patent Local Rules of this Court, modifying the timing
 of those events to adjust for holidays and other events, deviating no more than three weeks from the
 default schedule set forth in the Patent Local Rules.

 Event                                                                                           Proposed Date
 Initial Case Management Conference                                                  Thursday, August 11, 2022
 Initial disclosures (see Docket No. 47)                                                Friday, August 19, 2022
 Disclosure of asserted claims and infringement contentions;
                                                                                     Thursday, August 25, 2022
 Plaintiff's initial production (Pat. Loc. R. 3-1 and 3-2)
 Defendant’s invalidity contentions;
                                                                                    Thursday, October 13, 2022
 Defendant's initial production (Pat. Loc. R. 3-3)
 Designation of experts for claim construction                                      Thursday, October 27, 2022
 Counter-designation of experts for claim construction                             Thursday, November 3, 2022
 Exchange of proposed terms for construction (Pat. Loc. R. 4-2)                  Thursday, November 10, 2022
 Exchange of preliminary claim constructions and extrinsic
                                                                                 Thursday, November 17, 2022
 evidence (Pat. Loc. R. 3-8)
 Plaintiff’s damages contentions (Pat. Loc. R. 4-3)                                Thursday, December 1, 2022
 Joint claim construction and prehearing statement and expert
 reports                                                                              Friday, December 9, 2022
 (Pat. Loc. R. 3-9)
 Defendant's responsive damages contentions (Pat. Loc. R. 4-4)                      Thursday, January 12, 2023
 Completion of claim construction discovery (Pat. Loc. R. 4-5)                      Thursday, January 26, 2023
 Plaintiff's opening claim construction brief (Pat. Loc. R. 4-5)                    Thursday, February 9, 2023
 Defendant's responsive claim construction brief (Pat. Loc. R.
                                                                                   Thursday, February 16, 2023
 4-5)


                                                    –5–                              Case No. 3:22-cv-3870-JSC
____________________________________________________________________________________________________________________
                                                              JOINT INITIAL CASE MANAGEMENT STATEMENT
              Case 3:22-cv-03870-JSC Document 49 Filed 08/04/22 Page 7 of 10


 Event                                                                                           Proposed Date
 Plaintiff's reply claim construction brief (Pat. Loc. R. 4-6)                     Thursday, February 23, 2023
                                                                                      Thursday, March 2, 2023,
 Claim construction hearing
                                                                                   or at the Court's convenience
                                                                          Subject to the Court’s availability, the
 Case Management Conference to set further deadlines                     first Thursday at least two weeks after
                                                                            the Court’s claim construction order


 XVIII. Trial

         This case will try to a jury. PRF and Google anticipate a trial length of no more than 5 days,
 including jury selection.
 XIX. Disclosure of Non-Party Interested Entities

         The Parties filed individual statements pursuant to Fed. R. Civ. P. 7.1, and Civ. L.R. 3-15. Google
 filed its Certificate of Interested Entities on July 15, 2022 (Docket No. 34). Under Federal Rule of Civil
 Procedure 7.1, Google disclosed that Google LLC is a subsidiary of XXVI Holdings Inc., which is a
 subsidiary of Alphabet Inc., a publicly traded company; no publicly traded company holds more than 10%
 of Alphabet Inc.’s stock. Under Civil Local Rule 3-15, Google certified that the following listed persons,
 associations of persons, firms, partnerships, corporations (including parent corporations) or other entities
 (i) have a financial interest in the subject matter in controversy or in a party to the proceeding, or (ii) have

 a non-financial interest in that subject matter or in a party that could be substantially affected by the

 outcome of this proceeding:
         1.      Google LLC
         2.      XXVI Holdings Inc., Holding Company of Google LLC
         3.      Alphabet Inc., Holding Company of XXVI Holdings Inc.
         PRF filed its Certificate of Interested Entities or Persons on July 21, 2022 (Docket No. 42). Under
 Federal Rule of Civil Procedure 7.1(a), PRF stated the following: Purdue Research Foundation has no
 parent corporation and no publicly-held corporation owns 10% or more of its stock. Purdue Research
 Foundation is a private, non-profit foundation created to advance the mission of Purdue University.
 Purdue University is an arm of the State of Indiana, and it is not subject to private ownership and does not



                                                    –6–                              Case No. 3:22-cv-3870-JSC
____________________________________________________________________________________________________________________
                                                              JOINT INITIAL CASE MANAGEMENT STATEMENT
              Case 3:22-cv-03870-JSC Document 49 Filed 08/04/22 Page 8 of 10


 issue stock. Pursuant to Civil L.R. 3-15, PRF certified that the following listed persons, associations of
 persons, firms, partnerships, corporations (including parent corporations), or other entities (i) have a
 financial interest in the subject matter in controversy or in a party to the proceeding, or (ii) have a
 non-financial interest in that subject matter or in a party that could be substantially affected by the
 outcome of this proceeding:
         1.      Purdue Research Foundation
         2.      Purdue University.
         PRF has also informed Google that the inventors on the patent-in-suit potentially have a financial
 interest in the outcome of this litigation subject to approval by the Purdue University Provost or other
 officials, based on the outcome and costs to achieve it.
 XX.     Professional Conduct

         All attorneys of record have reviewed the Guidelines for Professional Conduct for the Northern
 District of California.
 XXI. Other Matters that Facilitate Just, Speedy, Inexpensive Disposition

         PRF and Google are not aware of any such matters.
 XXII. Local Patent Rule 2-1(b)(1)—Proposed Modifications to Patent Local Rules

         PRF and Google do not propose any modifications to the obligations set forth in the Patent Local
 Rules, but propose to modify the timing of some events under the Patent Local Rules to adjust for holidays
 and other events, deviating no more than three weeks from the default schedule set forth in the Patent

 Local Rules, as set forth above in Section XVII.
 XXIII. Local Patent Rule 2-1(b)(2)—Scope and Timing of Claim Construction Discovery

         PRF and Google propose to proceed with claim construction discovery as set forth in the Patent
 Local Rules, modifying the timing of some events as set forth above in Section XVII.
 XXIV. Local Patent Rule 2-1(b)(3)—Proposed Format of Claim Construction Hearing

         PRF and Google request a hearing before the Court on any claim terms in dispute, but cannot
 estimate the length or scope of the hearing at this time.




                                                    –7–                              Case No. 3:22-cv-3870-JSC
____________________________________________________________________________________________________________________
                                                              JOINT INITIAL CASE MANAGEMENT STATEMENT
            Case 3:22-cv-03870-JSC Document 49 Filed 08/04/22 Page 9 of 10


 XXV. Local Patent Rule 2-1(b)(4)—How Parties Intend to Educate the Court on Technology

         PRF and Google propose to present the Court with a technology tutorial. PRF believes a video
 tutorial of 30 minutes per side is sufficient and would allow the Court to view the material at its
 convenience, perhaps multiple times. Examples of such tutorials can be found at
 https://www.txwd.uscourts.gov/judges-information/exemplary-tutorials/.
         At this time, Google has not determined whether it would be beneficial to the Court to present its
 technology tutorial by video or through live testimony. Either way, Google agrees that any such
 presentation shall be no more than 30 minutes in length per party, to be presented to the Court at its’
 convenience, but suggests that the best time to do so is 1-2 weeks before the hearing on claim
 construction.
 XXVI. Local Patent Rule 2-1(b)(5)—Non-Binding, Good-Faith Estimate of Damages Range

         PRF is unable to provide any estimate of damages without discovery. Purdue is awaiting
 information from Google to determine the extent and nature of its use of the patented technology.
 Because the technology potentially covers every single app offered on the Google Store, as well as
 convoyed sales for in-app purchases, the amount of damages may, and likely does reach into the hundreds
 of millions of dollars for past damages. The damages estimate can be provided when the discovery from
 Google on the number of apps, the number of downloads and Google’s revenue are disclosed.
         Google's non-binding, good-faith estimate of the damages range is $0. The accused functionality
 is part of Android Studio, an open-source product that Google provides without charge.

 Date: August 4, 2022                                 Respectfully submitted,

 /s/ Michael W. Shore
 _____________________________________                _______________________________________
 Michael W. Shore (pro hac vice)                      Matthew S. Warren (State Bar No. 230565)
 THE SHORE FIRM                                       Jennifer A. Kash (Sate Bar No. 203679)
 901 Main Street, Suite 3300                          Erika H. Warren (State Bar No. 295570)
 Dallas, Texas, 75202                                 Francesca M. S. Germinario (State Bar No. 326208)
 Telephone: 214-593-9110                              Sachli Balazadeh-Nayeri (State Bar No. 341885)
 Fax: 214-593-9111                                    WARREN LEX LLP
 mshore@shorefirm.com                                 2261 Market Street, No. 606
                                                      San Francisco, California, 94114
 M. Elizabeth Day (State Bar No. 177125)              +1 (415) 895-2940
 Marc Belloli (State Bar No. 244290)                  +1 (415) 895-2964 facsimile
 David Alberti (State Bar No. 220625)                 22-3870@cases.warrenlex.com
 KRAMER DAY ALBERTI LIM
   TONKOVICH & BELLOLI LLP                            Attorneys for Defendant Google LLC
                                                    –8–                              Case No. 3:22-cv-3870-JSC
____________________________________________________________________________________________________________________
                                                              JOINT INITIAL CASE MANAGEMENT STATEMENT
           Case 3:22-cv-03870-JSC Document 49 Filed 08/04/22 Page 10 of 10


 577 Airport Blvd., Suite 250
 Burlingame, California, 94010
 Tel: 650 825-4300
 Fax: 650 460-8443
 eday@kramerday.com
 mbelloli@kramerday.com
 dalberti@kramerday.com

 Attorneys for Plaintiff Purdue Research Foundation


                                         SIGNATURE ATTESTATION

         Under Civil L.R. 5-1(h)(3), I attest that all electronic signatories to the foregoing document have
 concurred in this filing, and that I have maintained records to support this concurrence.


                                                      _______________________________________
                                                      Sachli Balazadeh-Nayeri




                                                    –9–                              Case No. 3:22-cv-3870-JSC
____________________________________________________________________________________________________________________
                                                              JOINT INITIAL CASE MANAGEMENT STATEMENT
